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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

HEATHER HAMMAN and
THOMAS HAMMAN, .
individually and as Wife and husband :
16691 Timmons Road

Spring Run, PA 17262

Plaintiffs
Vs. ' _ : CIVIL ACTION NO.
ASSIGNED TO JUDGE
JOSHUA MARTIN
N14208 County M

Thorp, Wl 54771

OAK TREE TRANSPORT, LLC
N1532 County Road Drive
Owen, WI 54460

MULE HIDE PRODUCTS CO., INC. :
1195 Prince Hall Drive '
Beliot, WI 53511
_Or_
c/o Corporation Service Company
211 E. 7th Street, Suite 620
Austin, TX 78701 :
Defendants : t JURY TRIAL DEMANDED

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COMPLAINT

AND NOW, come the Plaintiffs, Heather Hamman and Thomas Hamman,
by and through their attorneys, Metzger, Wickersham, Knauss & Erb, P.C. and
respectfully represent the following:

FACTS APPLICABLE TO ALL COUNTS

l. Plaintiffs, Heather Hamman and Thomas Hamman, are adult
individuals who reside at 16691 Timmons Road, Spring Run, Franklin County,
Pennsylvania, l7262.

2. Defendant, Joshua Martin, (hereinafter sometimes referred to as
“Martin”) is an adult individual with a last known address of Nl4208 County M,
Thorpe, WI 54771.

3. Defendant, Oak Tree Transport, LLC (hereinafter sometimes referred
to as “Oak Tree”) is a Wisconsin limited liability company organized and existing
under the laws of the state of Wisconsin, with a principal place of business located
at N1532 County Road Drive, Owen, Wisconsin, 54460.

4. Defendant, Mule Hide Products Co., Inc. (hereinafter sometimes
referred to as “Mule Hide”) is a corporation organized and existing under the laws

of the state of TeXas, with a principal place of business located at 1195 Prince Hall

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Drive, Beliot, Wisconsin, 535ll and a corporate mailing address located at 17000

Red Hill Avenue, Irvine, California, 92614-5626.

5. This Court has jurisdiction of this action under 28 U.S.C. §1332,
Diversity of Citizenship.

6. The amount in controversy exceeds the sum or value of $75,000.00,
exclusive of interest and costs and is between citizens of different states.

7. At all times relevant herein and material hereto, Joshua Martin, was
the duly authorized agent, servant, workman, and/or employee, of Defendants, Oal<
Tree Transport, LLC and/or Mule Hide Products Co., Inc., acting within the course
and scope of their authority and/or for a purpose and/or for the benefit of
Defendants, Oak Tree Transport, LLC and/or Mule Hide Products Co., Inc..

8. The facts and circumstances hereinafter set forth occurred on April 5,
2016, at approximately 7:50 a.m. on SR 997 (Cumberland Highway), Lurgan
Township, Franklin County, Pennsylvania.

9. At the aforesaid time and place, Plaintiff, Heather Hamman, was the
operator of a 2000 Jeep Cherokee bearing Pennsylvania License Plate No.
DRG5203.

10. At the aforesaid time and place, Joshua Martin, was the operator of a

2005 Peterbilt tractor (hereinafter “2005 Peterbilt”) bearing Wisconsin License

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Plate No. 31633X and was hauling a trailer bearing Wisconsin License Plate No.
705 056, both which were owned by Defendant, Oak Tree.

ll. At the aforesaid time and place, the 2005 Peterbilt was hauling a
trailer allegedly filled with huge rolls of paper that were loaded by employees,
agents, servants and/or workmen of Defendants, Oak Tree Transport, LLC and/or
Mule Hide Products Co., Inc.

l2. At the aforesaid time and place, Plaintiff, Heather Hamman, was
traveling northbound on SR 997 (Cumberland Highway), Lurgan Township,
Franklin County, Pennsylvania.

l3. At the aforesaid time and place, Defendant Martin was traveling
southbound on SR 997 (Cumberland Highway), Lurgan Township, Franklin
County, Pennsylvania.

14. At the aforesaid time and place, Defendant Martin was operating the
2005 Peterbilt truck with the permission of Defendants, Oak Tree Transport, LLC
and/or Mule Hide Products Co., Inc. and within the scope of his authority and
employment with said Defendants, which controlled and had the right to control

his operation of the tractor trailer under applicable governmental laws and

regulations

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15. At the aforesaid time and place, while Defendant Martin was
negotiating a right curve, the load shifted from the trailer causing it to overturn
onto its left side. After the 2005 Peterbilt overturned, it began sliding south on the
roadway using both the north and south lanes of travel. Plaintiff, Heather
Hamman, attempted to swerve to the right but was unable to avoid striking the
trailer.

16. As a result of the collision, Plaintiff, Heather Hamman, sustained
serious injuries and damages.

COM_I.
HEATHER HAMMAN v. JOSHUA MARTIN

l7. Paragraphs 1 through 16 hereof are incorporated herein by reference
as if fully set forth.

18. Defendant, Joshua Martin, owed a duty to Plaintiff, Heather Hamman,
and other lawful users of the roadways in the Commonwealth of Pennsylvania to
operate the vehicle he was driving in such a way as not to cause harm or damage to
said other persons and to the Plaintiff in particular.

19. The aforesaid collision was the direct and proximate result of the

actions and/or omissions of the Joshua Martin, either individually and/or jointly

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and severally, in operating the 2005 Peterbilt in a careless and negligent manner as

follows:

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Failing to observe Plaintiff’ s vehicle and other vehicles
on the roadway;

Failing to drive within a single lane in violation of 75 Pa.
C.S.A. §3309 and applicable law;

Moving the vehicle he was operating from his lane of
travel when not safe to do so in Violation of 75 Pa. C.S.A.
§3309 and applicable law;

In failing to keep proper lookout for other Vehicles lawfully
operating on roadways;

In failing to operate said vehicle at a speed that would allow
him to stop his vehicle before driving into the vehicle Plaintiff
was operating;

In failing to have his vehicle under proper and adequate control
under the then existing circumstances;

In failing to maintain a proper lookout for other vehicles and
changing road;

In failing to apply his brakes in sufficient time to prevent the
collision;

In failing to use due care and caution or reasonable judgment
under the existing road conditions;

Failing to obey traffic control devices in violation of 75 Pa.
C.S.A. §3111 and applicable law;

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Failing to slow or stop the vehicle he was operating so as to
avoid a collision;

In operating the vehicle at an excessive rate of speed under the
circumstances in violation of 75 Pa. C.S.A. §3361 and
applicable law;

Operating his vehicle in careless disregard for the safety of
persons and/or property in violation of 75 Pa. C.S.A. §3714 and

applicable law;

In failing to give warning to Plaintiff, Heather Hamman, of` the
impending collision;

In failing to keep alert and maintain a proper lookout for the
presence of other motor vehicles on the streets and highways;

In failing to familiarize himself With the roadways and his
surroundings;

In not paying attention to his surroundings;
Losing control of the vehicle he was operating;

In failing to keep his Vehicle under proper and adequate control
so as not to expose other users to an unreasonable risk of harm;

In failing to take evasive action to avoid a collision with the
vehicle Plaintiff` was occupying;

Driving while distracted;
Driving at a speed greater than is reasonable and prudent

under the conditions in violation of 75 Pa.C.S. §3361 and
applicable law;

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Driving at an unsafe speed with regard to the actual and
potential hazards then existing in violation of 75 Pa.C.S.
§3361 and applicable law;

Driving at an unsafe speed when special hazards exist
with respect to traffic and highway conditions in
violation of 75 Pa.C.S. §3361 and applicable law;
Operating his vehicle too fast for the conditions existing
at the aforesaid time and place in violation of 75
Pa.C.S.A. §3361 and applicable law;

Exceeding the applicable maximum speed limit in
violation of 75 Pa.C.S.A. §3362 and applicable law;

Failing to heed and take precaution because of curvy and
windy road conditions;

In operating the vehicle so as to create a dangerous situation for
other vehicles on the roadway;

Failing to stay alert to traffic patterns;

Failing to slow or stop his vehicle due to traffic conditions;
Failing to be attentive to safely operate his vehicle;
Failing to properly scan the roadway ahead;

Operating a motor vehicle inattentively;

Failing to properly use his brakes;

Failing to have an adequate braking system in violation of 75
Pa. C.S. §4502 and applicable law;

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Possibly operating his vehicle while using an interactive
wireless communications device in violation of 75 Pa. C.S.A.
§102 and 3316 and applicable law, to be determined;

Possibly texting while driving in violation of 75 Pa. C.S.A.
§1621 and 49 C.F.R. 392.80 and applicable law, to be
determined;

Operating his vehicle while using a handheld mobile telephone
in violation of 75 Pa. C.S. §1622 and 49 C.F.R. 392.82 and
applicable law;

(mm) Failing to comply with commercial driver requirements in

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Violation of § 1601, et seq. and applicable law;

Failing to have an adequate brake system in violation of 75 Pa.
C.S.A. §4502 and applicable law;

Violating equipment standards in violation of 75 Pa. C.S.A.
§4107 and applicable law;

In failing to operate his vehicle with a higher standard of care as
required by a commercial driver;

Operating his vehicle at an unsafe speed in violation of Part
392.6 of the U.S. Department of` Transportation Federal Motor
Carrier Safety Regulations;

Failing to comply with the operating rules of Pennsylvania or of
the U.S. Department of Transportation Federal Motor Carrier
Safety Regulations in violation of 49 CFR §392.2;

Operating his vehicle unsafely under hazardous conditions in
violation of 49 CFR §392.14;

Driving the 2005 Peterbilt with trailer when not qualified to do
so in violation of 49 CFR §391.11;

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Failing to have the knowledge and skills necessary to operate
the 2005 Peterbilt with trailer safely in violation of 49 CFR
§383.110; 49 CFR §383.111(a), (b), (c); and 49 CFR §383.113;

Failing to have an adequate brake system on the Peterbilt in
violation of 49 C.F.R. §393.40, §393.47, §393.48 and §393.52-
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(ww) Failing to properly maintain and inspect the Peterbilt with

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trailer to ensure it was in a safe operating condition in violation
of 49 CFR §392.7, §396.3 and 396.13;

Failing to properly inspect the Peterbilt with trailer to make
sure that all parts, including the brakes were in good working
order pursuant to 49 C.F.R. §392.7 and applicable law;

Failing to take the necessary rest stops and abide by the hours
of service requirements in violation of 49 C.F.R. §395.1, et
S€q-;

Failing to properly inspect the Peterbilt with trailer to make

sure that all of the cargo was safely secured and properly
loaded;

Failing to load the trailer on the 2005 Peterbilt such that said
trailer remained safe and/or secure with respect to its
reasonably intended and foreseeable operation on the roadways;

(bbb) Negligently and carelessly loaded and/or packed the subject

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trailer in a vulnerable, unsecured, overloaded, unbalanced,
and/or dangerous state which constituted a dangerous condition;

Failing to prevent the subject trailer from being overloaded,

unbalanced, improperly loaded, and/or otherwise negligently
loaded;

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(ddd) In allowing or permitting the subject trailer to be overloaded,

unbalanced, improperly loaded, and/or otherwise negligently
loaded;

(eee) Failing to have the loading process under proper and adequate
control;

(fff) Negligently loading the subject trailer;

(ggg) In causing and/or permitting the vulnerability, overloading,
improper loading, negligent loading, unbalanced, and/or the
unsecured state of the loading to exist and remain uncorrected;

(hhh) In causing the roll-over of the subject trailer by failing to ensure
proper loading, safeguarding, and/or supervision at the loading
point;

(iii) In permitting the vulnerability, overloading, improper loading,
negligent loading, unbalanced loading, and/or the unsecured
state of the loading to exist and remain when Defendant knew

or should have known of the existence and the danger involved;

(jjj) Failing to exercise reasonable care over the manner in which
the loading was performed and/or operated.

20. As a direct and proximate result of the collision and the negligent,
careless conduct of Joshua Martin, either individually and/or jointly and severally,
Plaintiff, Heather Hamman, sustained and in the future may sustain, serious and
debilitating injuries, some of which are or may be permanent, and may be an

aggravation and/or exacerbation of pre-existing conditions, and which include, but

are not limited to, the following:

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Right SAH

Right SDH

Right IPH

Bilateral temporal bone fractures

Clivus fracture with pneumocephalus

Left petrous apex fracture with extension into carotid canal
Left L3 transverse process fracture

Right 1-6 rib fracture

Right pneumothorax

Bilateral pulmonary contusions

Manubrium fracture

Mediastinal hematoma

Right breast hematoma

Grade IV splenic laceration

Grade ll liver laceration

Mesentric rent

Extraperitoneal hematoma

Left femur fracture

Bilateral acetabular fracture

Avulsion fracture left ischium

Right sacroiliac joint widening

Left pubic symphysis avulsion

Right superior/inferior pubic ram fractures

Right talus fracture

Right bimalleolar ankle fracture

Right 5th metatarsal fracture

Right navicular fracture

Left elbow traumatic arthrotomy

Right tibial plateau fracture

Hypovolemic shock

Ventilator dependent respitory failure

Dysphagia

Bilateral pleural effusions

Atelectasis

Multiple early subacute infarcts involving bilateral hemispheres
including frontoparietal and occipital lobes, involving the left
sensorimotor cortx, basal ganglia, causate. Parebchymal

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hemorrhage in the right temporoparietal lobe.
(jj) Right axillary and brachial vein DVTs
(kk) Acute blood loss anemia
(11) Leukocytosis
(mm) Thrombocytosis
(nn) Acute kidney injury
(oo) Hyperglycemia
(pp) Hyperkalemia
(qq) Hypokalemia
(rr) Hypernatremia
(ss) Hypocalcemia
(tt) Malnutrition
(uu) Coagulopathy
(vv) Lactic acidosis
(ww) Hypermagnesemia
(xx) Hypophosphatemia
(yy) Hyperbilirubinemia
(zz) Cranial nerve VI palsy.

21. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Joshua Martin, either individually and/or jointly and severally,
Plaintiff, Heather Hamman, has undergone and in the future will undergo physical
pain, mental anguish, discomfort, inconvenience, distress, embarrassment and
humiliation, past, present and future loss of her ability to enjoy the pleasures of life
and limitations in her pursuit of daily activities for which damages are claimed.

22. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Joshua Martin, either individually and/or jointly and severally,

Plaintiff, Heather Hamman, has incurred and/or may in the future incur expenses

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for medical treatment, surgery/or and rehabilitation for which damages are
claimed.

23. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Joshua Martin, either individually and/or jointly and severally,
Plaintiff, Heather Hamman, has incurred and/or may in the future incur a loss of
income, a loss of future earning capacity, loss of future productivity, loss of
household services, and other economic damages for which damages are claimed.

24. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Joshua Martin, either individually and/or jointly and severally,
Plaintiff, Heather Hamman, sustained incidental costs and losses to include, but not
limited to, mileage expense, past and future medication costs and/or medical
appliance costs for which damages are claimed.

25. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Joshua Martin, either individually and/or jointly and severally,
Plaintiff, Heather Hamman, has incurred and/or may in the future incur a loss of
household services and other economic damages for which damages are claimed.

26. As a direct and proximate result of the aforesaid collision, negligence

and carelessness of Joshua Martin, either individually and/or jointly and severally,

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Plaintiff, Heather Hamman, has sustained, or in the future may sustain, scarring
and/or disfigurement for Which damages are claimed.

WHEREFORE, Plaintiff, Heather Hamman, demands judgment in her favor
and against Joshua Martin, either individually and/or jointly and severally, for the
aforesaid damages which exceeds Seventy-Five Thousand Dollars ($75,000.00),

exclusive of interest and costs, plus damages for delay, costs and interest incurred

in this action.

COUNT II
HEATHER HAMMAN V. OAK TREE TRANSPORT. LLC

27. Paragraphs 1 through 26 hereof are incorporated herein by reference
as if fully set forth.

28. At all times relevant hereto, Defendant Martin, was an employee,
servant, workman, agent, contractor and/or apparent agent of Defendant, Oak Tree
Transport, LLC, and was acting within the scope of his employment with
Defendant, Oak Tree Transport, LLC and Defendant, Oak Tree Transport, LLC,
either individually and/or jointly and severally, is therefore vicariously liable for
his acts, commissions or omissions as though it performed the acts, commissions

or omissions itself and is subject to the doctrine of respondeat superior.

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29. In addition to being vicariously liable for the acts, commissions or

omissions of its employee, servant, workman, agent, contractor and/or apparent

agent, Defendant, Oak Tree Transport, LLC, either individually and/or jointly and

severally, was also negligent and careless as follows:

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Failing to properly train its employees, servants, workmen,
agents, contractors and/or apparent agents in the operation of its
vehicles;

Failing to provide its employees, servants, workmen, agents,
contractors and/or apparent agents with proper directions before
allowing them to operate its vehicles;

Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents are familiar with the
roadways and route of travel before allowing them to operate its
vehicles;

Failing to properly supervise or control its employees, servants,
workmen, agents, contractors and/or apparent agents while they
are operating its vehicles;

Hiring and/or retaining employees, servants, workmen, agents,
contractors and/or apparent agents who may be unfit or
incompetent to operate its vehicles;

Failing to have in place proper procedures, rules, regulations,
protocols or safety measures to ensure that other motorists are
not endangered by the operation of its vehicles by its
employees, servants, workmen, agents, contractors and/or
apparent agents;

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Sending out its employees, servants, workmen, agents,
contractors and/or apparent agents for an errand or job without
proper instructions, directions and guidance;

Failing to take proper precautions to protect Plaintiff and other `
lawful users of the roadway from the negligent and careless
actions of its employees, servants, workmen, agents, contractors
and/or apparent agents;

Allowing an employee, servant, workman, agent, contractor
and/or apparent agent to drive its vehicle who is incompetent to
do so due to lack of training, licensing and/or prior unsafe
driving;

Failing to use a high degree of care as a commercial carrier in
the operation of its vehicle;

Failing to enforce its employee manuals and/or training
procedures;

Failing to have an adequate or properly maintained brake
system on the Peterbilt in Violation of 49 C.F.R. §393.40; 49
C.F.R. §393.47; 49 C.F.R. §393.48, 49 C.F.R. §393.52-55; 75
Pa. C.S.A. §4502; and 75 Pa. C.S.A. §4107;

Having commercial vehicle operators who do not have the
required knowledge or skill to safely operate its vehicles in
violation of49 C.F.R. §383.111-383.13;

Allowing a driver to operate its vehicle who is not physically
qualified to do so in violation of 49 C.F.R. §391.41 and
applicable law;

Failing to enforce both the written and unwritten policies of
Oak Tree Transport, LLC;

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Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while possibly texting in
violation of Part 392 of the U.S. Department of Transportation
Federal Motor Carrier Safety Regulation, in particular 49 CFR
§392.80;

Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while possibly using a hand-
held mobile telephone in violation of Part 392 of the U.S.
Department of` Transportation Federal Motor Carrier Safety
Regulation, in particular 49 CFR §392.82;

Allowing its employee, servant, workman and/or agent to
recklessly drive its vehicle;

Allowing its employee, servant, workman and/or agent to
operate its vehicle in careless disregard for the safety of persons
and/or property in violation of 75 Pa. C.S. §3714 and applicable
law; _

Allowing its employee, servant, workman and/or agent to
operate its vehicle in a reckless, willful or wanton disregard for
the safety of persons or property in violation of 75 Pa. C.S.A.
§3736 and applicable law;

Allowing an employee, servant, workman and/or agent to
possibly text while driving in violation of 75 Pa. C.S.A. §1621
and applicable law;

Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while possibly using a
handheld mobile telephone in violation of 75 Pa. C.S.A. §1622
and applicable law;

Allowing its employee, servant, workman and/or agent to
operate its vehicle while distracted;

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Failing to instruct its employee, servant, workman and/or agent
to not operate the vehicle while distracted;

Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents were aware of and complied

with the written and unwritten policies of Oak Tree Transport,
LLC;

Failing to ensure that its management personnel and drivers
were aware of the requirements and the dictates of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Vehicle Code;

Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents complied with the provisions
of both the Pennsylvania Motor Vehicle Code and the Federal
Motor Carrier Safety Regulations;

Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents were aware of and complied
with the rules, laws and regulations pertaining to and governing
the operation of commercial vehicles;

Negligently entrusting a motor vehicle to an individual who had
not been properly trained in the operation of its motor vehicle;

Recklessly entrusting a motor vehicle to an individual who was
unfit to operate the vehicle;

Failing to properly inspect and maintain its vehicles in violation
of49 C.F.R. §392.7, §396.3 and §396.17;

Allowing its drivers to violate hours of service requirements in
violation of 49 C.F.R. §395.1, et seq.;

Possibly allowing its driver to operate an out of service vehicle;

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Failing to exercise the degree of skill, reasonable care,
diligence, and control in the operation, supervision, control,
and/or management of the trailer loading process that one in the
position of the Plaintiff would reasonably expect and rely upon;

Failing to load the trailer on the 2005 Peterbilt such that said
trailer remained safe and/or secure with respect to its
reasonably intended and foreseeable operation on the roadways;

Negligently and carelessly loaded and/or packed the subject
trailer in a vulnerable, unsecured, overloaded, unbalanced,
and/or dangerous state which constituted a dangerous condition;

Failing to select, hire, employ, instruct, contract, supervise,
oversee, train, and retain competent persons as staff, workers,
employees, personnel, assistants, agents and servants in the
loading of trailers;

Failing to prevent the subject trailer from being overloaded,

unbalanced, improperly loaded, and/or otherwise negligently
loaded;

(mm) In allowing or permitting the subject trailer to be overloaded,

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unbalanced, improperly loaded, and/or otherwise negligently
loaded;

Failing to have the loading process under proper and adequate
control;

Negligently loading the subject trailer;
In causing and/or permitting the vulnerability, overloading,

improper loading, negligent loading, unbalanced, and/or the
unsecured state of the loading to exist and remain uncorrected;

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In causing the roll-over of the subject trailer by failing to ensure

proper loading, safeguarding, and/or supervision at the loading
point;

In permitting the vulnerability, overloading, improper loading,
negligent loading, unbalanced loading, and/or the unsecured
state of the loading to exist and remain when Defendant knew
or should have known of the existence and the danger involved;

Failing to exercise reasonable care over the manner in which
the loading was performed and/or operated;

Failing to develop and follow proper policies and procedures
with respect to loading trailers and otherwise safeguarding
trailers before, during and after the loading process;

Failing to properly and adequately monitor and/or supervise the
loading of the subject trailer;

Failing to operate the point of loading in such a way that it
would not present a danger of overloading, improper loading,
unbalanced loading, and/or negligent loading;

(ww) Failing to know and/or utilize accepted and proper principles of

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trailer loading in conjunction with the loading of trailers;

Failing to observe and monitor the loading of the subject trailer
with sufficient frequency or in a sufficient manner when
Defendants knew or should have known of the risk of
overloading, improper loading, and/or negligent loading;

Failing to properly and adequately train and instruct staff,
assistants, agents, servants, employees and other staff members
to conduct, accomplish, monitor and/or supervise the loading
process;

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(zz) In failing to employ, hire, train, instruct, contract, and retain
only competent personnel, employees, agents, servants and
workmen so as to ensure that trailers were properly loaded;

(aaa) In negligently hiring and/or training employees, agents,
servants and workmen who were unable or unwilling to
properly load trailers in a reasonable manner;

(bbb) In failing to supervise, coordinate, and direct the various
employees, agents, servants and/or workmen conducting the
loading process of the subject trailer;

(ccc) In failing to retain and schedule for each shift a proper and
adequate number of employees, agents, servants and workmen
to monitor and supervise the loading process of trailers;

(ddd) In failing to ensure that trailers and their operators were
afforded an acceptable level of care and supervision by the staff
so as to ensure the safety of their trailers before, during, and/or
after the loading process;

(eee) Performing the loading process in such a careless and/or
negligent manner so as to cause or allow the subject trailer to
roll over when foreseeably driven/operated upon the roadway;

(fff) Failing to exercise the high degree of care required of an entity
loading a trailer for hauling upon a roadway;

(ggg) Attempting to excessively load the subject trailer when such
act(S) could not be safely accomplished;

(hhh) In allowing or permitting individuals who did not possess the
requisite training and/or knowledge to load the subject trailer.

30. As a direct and proximate result of the collision and the negligent and

careless conduct of Defendant, Oak Tree Transport, LLC, either individually

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and/or jointly and severally, Plaintiff, Heather Hamman, sustained the aforesaid
damages

WHEREFORE, Plaintiff, Heather Hamman, demands judgment in her favor
and against the Defendant, Oak Tree Transport, LLC, either individually and/or
jointly and severally, for the aforesaid damages which exceeds Seventy-Five
Thousand Dollars ($75,000.00), exclusive of interest and costs, plus damages for

delay against Defendant as allowed by law.

COUNT III
HEATHER HAMMAN V. MULE HIDE PRODUCTS CO., INC.

31. Paragraphs 1 through 30 hereof are incorporated herein by reference
as if fully set forth.

32. At all times relevant hereto, Defendant Martin, was an employee,
servant, workman, agent, contractor and/or apparent agent of Defendant, Mule
Hide Products Co., Inc., and was acting within the scope of his employment with
Defendant, Mule Hide Products Co., Inc. and Defendant, Mule Hide Products Co.,
Inc., either individually and/or jointly and severally, is therefore vicariously liable

for his acts, commissions or omissions as though it performed the acts,

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commissions or omissions itself and is subject to the doctrine of respondeat

superior.

33. In addition to being vicariously liable for the acts, commissions or
omissions of its employee, servant, workman, agent, contractor and/or apparent
agent, Defendant, Rivera Logistics, lnc., either individually and/or jointly and

severally, was also negligent and careless as follows:

(a) Failing to properly train its employees, servants, workmen, agents,
contractors and/or apparent agents in the operation of its vehicles;

(b)Failing to provide its employees, servants, workmen, agents,
contractors and/or apparent agents with proper directions before
allowing them to operate its vehicles;

(c) Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents are familiar with the roadways
and route of travel before allowing them to operate its vehicles;

(d) Failing to properly supervise or control its employees, servants,
workmen, agents, contractors and/or apparent agents while they are
operating its vehicles;

(e) Hiring and/or retaining employees, servants, workmen, agents,
contractors and/or apparent agents who may be unfit or
incompetent to operate its vehicles;

(f) Failing to have in place proper procedures, rules, regulations,
protocols or safety measures to ensure that other motorists are not
endangered by the operation of its vehicles by its employees,
servants, workmen, agents, contractors and/or apparent agents;

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(g) Sending out its employees, servants, workmen, agents, contractors
and/or apparent agents for an errand or job without proper
instructions, directions and guidance;

(h) Failing to take proper precautions to protect Plaintiff and other
lawful users of the roadway from the negligent and careless actions
of its employees, servants, workmen, agents, contractors and/or
apparent agents;

(i) Allowing an employee, servant, workman, agent, contractor and/or
apparent agent to drive its vehicle who is incompetent to do so due
to lack of training, licensing and/or prior unsafe driving;

(j) Failing to use a high degree of care as a commercial carrier in the
operation of its vehicle;

(k)Failing to enforce its employee manuals and/or training
procedures;

(l) F ailing to have an adequate or properly maintained brake system
on the Peterbilt in Violation of 49 C.F.R. §393.40; 49 C.F.R.
§393.47; 49 C.F.R. §393.48, 49 C.F.R. §393.52-55; 75 Pa. C.S.A.
§4502; and 75 Pa. C.S.A. §4107;

(m) Having commercial vehicle operators who do not have the
required knowledge or skill to safely operate its vehicles in
violation of 49 C.F.R. §383.111-383.13;

(n)Allowing a driver to operate its vehicle who is not physically
qualified to do so in violation of 49 C.F.R. §391.41 and applicable
law;

(o) Failing to enforce both the written and unwritten policies of Mule
Hide Products Co., Inc.;

(p)Allowing an employee, servant, workman and/or agent to operate
his/her/their tractor-trailer while possibly texting in violation of

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Part 392 of the U.S. Department of Transportation Federal Motor
Carrier Safety Regulation, in particular 49 CFR §392.80;

(q) Allowing an employee, servant, workman and/or agent to operate
his/her/their tractor-trailer while possibly using a hand-held mobile
telephone in violation of Part 392 of the U.S. Department of
Transportation Federal Motor Carrier Safety Regulation, in
particular 49 CFR §392.82;

(r) Allowing its employee, servant, workman and/or agent to
recklessly drive its vehicle;

(s) Allowing its employee, servant, Workman and/or agent to operate
its Vehicle in careless disregard for the safety of persons and/or
property in violation of 75 Pa. C.S. §3714 and applicable law;

(t) Allowing its employee, servant, workman and/or agent to operate
its vehicle in a reckless, willful or wanton disregard for the safety
of persons or property in violation of 75 Pa. C.S.A. §3736 and
applicable law;

(u) Allowing an employee, servant, workman and/or agent to possibly
text while driving in violation of 75 Pa. C.S.A. §1621 and
applicable law;

(v) Allowing an employee, servant, workman and/or agent to possibly
operate his/her/their tractor-trailer while possibly using a handheld
mobile telephone in violation of 75 Pa. C.S.A. §1622 and
applicable law;

(w) Allowing its employee, servant, workman and/or agent to
operate its vehicle while distracted;

(x) Failing to instruct its employee, servant, workman and/or agent to
not operate the vehicle while distracted;

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(y) Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents were aware of and complied
with the written and unwritten policies of Mule Hide Products Co.,
Inc.;

(z) Failing to ensure that its management personnel and drivers were
aware of the requirements and the dictates of the Federal Motor

Carrier Safety Regulations and the Pennsylvania Motor Vehicle
Code;

(aa) Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents complied with the provisions of
both the Pennsylvania Motor Vehicle Code and the Federal Motor
Carrier Safety Regulations;

(bb) Failing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents were aware of and complied
with the rules, laws and regulations pertaining to and governing the
operation of commercial vehicles;

(cc) Negligently entrusting a motor vehicle to an individual who had
not been properly trained in the operation of its motor vehicle;

(dd) Recklessly entrusting a motor vehicle to an individual who was
unfit to operate the vehicle;

(ee) Failing to properly inspect and maintain its vehicles in violation
of49 C.F.R. §392.7, §396.3 and §396.17;

(ff) Possibly allowing its drivers to violate hours of service
requirements in violation of 49 C.F.R. §395.1, et seq.;

(gg) Allowing its driver to operate an out of service vehicle;

(hh) Failing to exercise the degree of skill, reasonable care,
diligence, and control in the operation, supervision, control, and/or

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management of the trailer loading process that one in the position
of the Plaintiff would reasonably expect and rely upon;

(ii) Failing to load the trailer on the 2005 Peterbilt such that said
trailer remained safe and/or secure with respect to its reasonably
intended and foreseeable operation on the roadways;

(jj) Negligently and carelessly loaded and/or packed the subject
trailer in a vulnerable, unsecured, overloaded, unbalanced, and/or
dangerous state which constituted a dangerous condition;

(kk) Failing to select, hire, employ, instruct, contract, supervise,
oversee, train, and retain competent persons as staff, Workers,

employees, personnel, assistants, agents and servants in the loading
of trailers;

(ll) Failing to prevent the subject trailer from being overloaded,

unbalanced, improperly loaded, rand/or otherwise negligently
loaded;

(mm) In allowing or permitting the subject trailer to be overloaded,

unbalanced, improperly loaded, and/or otherwise negligently
loaded;

(nn) Failing to have the loading process under proper and adequate
control;

(oo) Negligently loading the subject trailer;
(pp) In causing and/or permitting the vulnerability, overloading,
improper loading, negligent loading, unbalanced, and/or the

unsecured state of the loading to exist and remain uncorrected;

(qq) In causing the roll-over of the subject trailer by failing to ensure
proper loading, safeguarding, and/or supervision at the loading
point;

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(rr) In permitting the vulnerability, overloading, improper loading,
negligent loading, unbalanced loading, and/or the unsecured state
of the loading to exist and remain when Defendant knew or should
have known of the existence and the danger involved;

(ss) Failing to exercise reasonable care over the manner in which
the loading was performed and/or operated;

(tt) Failing to develop and follow proper policies and procedures
with respect to loading trailers and otherwise safeguarding trailers
before, during and after the loading process;

(uu) Failing to properly and adequately monitor and/or supervise the
loading of the subject trailer;

(vv) Failing to operate the point of loading in such a way that it
would not present a danger of overloading, improper loading,
unbalanced loading, and/or negligent loading;

(ww) Failing to know and/or utilize accepted and proper principles of
trailer loading in conjunction with the loading of trailers;

(xx) Failing to observe and monitor the loading of the subject trailer
with sufficient frequency or in a sufficient manner when
Defendants knew or should have known of the risk of overloading,
improper loading, and/or negligent loading;

(yy) Failing to properly and adequately train and instruct staff,
assistants, agents, servants, employees and other staff members to
conduct, accomplish, monitor and/or supervise the loading process;

(zz) In failing to employ, hire, train, instruct, contract, and retain

only competent personnel, employees, agents, servants and
workmen so as to ensure that trailers were properly loaded;

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(aaa) In negligently hiring and/or training employees, agents,
servants and workmen who were unable or unwilling to properly
load trailers in a reasonable manner;

(bbb) In failing to supervise, coordinate, and direct the various
employees, agents, servants and/or workmen conducting the
loading process of the subject trailer;

(ccc) ln failing to retain and schedule for each shift a proper and
adequate number of employees, agents, servants and workmen to
monitor and supervise the loading process of trailers;

(ddd) In failing to ensure that trailers and their operators were
afforded an acceptable level of care and supervision by the staff so

as to ensure the safety of their trailers before, during, and/or after
the loading process;

(eee) Performing the loading process in such a careless and/or
negligent manner so as to cause or allow the subject trailer to roll

over when foreseeably driven/operated upon the roadway;

(fff) Failing to exercise the high degree of care required of an entity
loading a trailer for hauling upon a roadway;

(ggg) Attempting to excessively load the subject trailer when such
act(s) could not be safely accomplished;

(hhh) In allowing or permitting individuals who did not possess the
requisite training and/or knowledge to load the subject trailer.

34. As a direct and proximate result of the collision and the negligent and
careless conduct of Defendant, Mule Hide Products Co., Inc., either individually
and/or jointly and severally, Plaintiff, Heather Hamman, sustained the aforesaid

damages

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WHEREFORE, Plaintiff, Heather Hamman, demands judgment in her favor
and against the Defendant, Mule Hide Products Co., Inc., either individually and/or
jointly and severally, for the aforesaid damages which exceeds Seventy-Five
Thousand Dollars ($75,000.00), exclusive of interest and costs, plus damages for
delay against Defendant as allowed by law.

COUNT IV
THOMAS HAMMAN V. JOSHUA MARTIN
LOSS OF CONSORTIUM

35. Paragraphs 1 through 34 hereof are incorporated herein by reference
as if fully set forth.

36. During all relevant times Plaintiffs, Heather Hamman and Thomas
Hamman, were husband and wife, and solely as a result of the collision, the
aforesaid negligence and carelessness of Defendant, Joshua Martin, and as a result
of the injuries to Plaintiff, Heather Hamman, the Plaintiff, Thomas Hamman, has
been deprived of the assistance, companionship, consortium and society of his wife
and has lost her services to him which may continue indefinitely.

WHEREFORE, Plaintiff, Thomas Hamman, demands judgment in his
favor and against Defendant, Joshua Martin, either individually and/or jointly and

severally, for the aforesaid damages which exceed Seventy-Five Thousand Dollars

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($75,000.00), exclusive of interest and costs, plus damages for delay against

Defendant as allowed by law.

COUNT V
THOMAS HAMMAN V. OAK TREE TRANSPORT, LLC
LOSS OF CONSORTIUM

37. Paragraphs l through 36 hereof are incorporated herein by reference
as if fully set forth.

'38. During all relevant times Plaintiffs, Heather Hamman and Thomas
Hamman, were husband and wife, and solely as a result of the collision, the
aforesaid negligence and carelessness of Defendant, Oak Tree Transport, LLC, and
as a result of the injuries to Plaintiff, Heather Hamman, the Plaintiff, Thomas
Hamman, has been deprived of the assistance, companionship, consortium and
society of his wife and has lost her services to him which may continue
indefinitely.

WHEREFORE, Plaintiff, Thomas Hamman, demands judgment in his favor
and against Defendant, Oak Tree Transport`, LLC, either individually and/or jointly

and severally, for the aforesaid damages which exceed Seventy-Five Thousand

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Dollars ($75,000.00), exclusive of interest and costs, plus damages for delay

against Defendant as allowed by law.

C()UNT VI
THOMAS HAMMAN V. MULE HIDE PRODUCTS C().. INC.
LOSS OF CONSORTIUM

39. Paragraphs l through 38 hereof are incorporated herein by reference
as if fully set forth.

40. During all relevant times Plaintiffs, Heather Hamman and Thomas
Hamman, were husband and wife, and solely as a result of the collision, the
aforesaid negligence and carelessness of Defendant, Mule Hide Products Co., Inc.,
and as a result of the injuries to Plaintiff, Heather Hamman, the Plaintiff, Thomas
Hamman, has been deprived of the assistance, companionship, consortium and
society of his wife and has lost her services to him which may continue
indefinitely.

WHEREFORE, Plaintiff, Thomas Hamman, demands judgment in his favor
and against Defendant, Mule Hide Products Co., Inc., either individually and/or

jointly and severally, for the aforesaid damages which exceed Seventy-Five

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Thousand Dollars ($75,000.00), exclusive of interest and costs, plus damages for

delay against Defendant as allowed by law.

l\/[ETZGER, WICKERSHAM, KNAUSS & ERB, P.C.

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UNSWORN DECLARATION UNDER PENALTY OF PERJURY

I, Zachary D. Campbell, Esquire, hereby declare that l am the attorney for the
Plaintiffs and that the facts in the foregoing Complaint, are true and correct to the
best of my knowledge, information, and belief. I, Zachary D. Campbell, Esquire,
further declare under the penalty of perjury that the foregoing is true and correct.

METZGER, WICKERSHAM, KNAUSS & ERB, P.C.

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